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16
                                   UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
18                                    SAN FRANCISCO DIVISION

19
     UNITED STATES OF AMERICA,                      Case No. 14-CR-00175-WHA
20
                                  Plaintiff,        MEMORANDUM RE 2019 WILDFIRE
21                                                  SAFETY PLAN IN RESPONSE TO COURT’S
            v.                                      JANUARY 30, 2019 ORDER
22
     PACIFIC GAS AND ELECTRIC COMPANY,
23

24                                Defendant.

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28                  MEMORANDUM RE 2019 WILDFIRE SAFETY PLAN IN RESPONSE TO COURT’S
                                       JANUARY 30, 2019 ORDER
                                       Case No. 14-CR-00175-WHA
 1           Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this memorandum

 2   in connection with its filing of PG&E’s Wildfire Safety Plan pursuant to the Court’s Order dated January

 3   30, 2019 (Dkt. 992). PG&E’s Wildfire Safety Plan was provided to the California Public Utilities

 4   Commission (“CPUC”) pursuant to Senate Bill 901 (“SB 901”) earlier today.

 5           PG&E agrees with the Court that the state of California is facing a critical public safety

 6   emergency. Wildfire risk is greater now than it has ever been in the past due to a confluence of climate

 7   conditions. A single spark can now spread into a catastrophic wildfire in a matter of minutes, as

 8   Northern California tragically experienced in October 2017 and November 2018. Given these

 9   conditions, it is imperative for public safety that all potential sources of wildfire ignition are addressed.
10   PG&E recognizes that its electric system—with its more than 100,000 miles of overhead power lines—is
11   a source of such potential ignitions. PG&E’s goal is not mitigation of ignition risk; it is elimination of
12   ignition risk to the greatest extent, and as fast as, possible. PG&E acknowledges that preventing
13   wildfires outright might be impossible, but nevertheless PG&E is approaching the issue with the goal of
14   doing all that it can to make sure its facilities do not create public safety risks.
15           Vegetation contact with power lines is the leading risk for electrically caused wildfires in the
16   districts subject to the highest fire threats. And that is precisely why PG&E developed and implemented
17   its Enhanced Vegetation Management Program. That Enhanced Vegetation Management Program,
18   which further mitigates fire risk associated with PG&E’s electric distribution lines, has three primary
19   components: (1) clearing all overhanging limbs and limbs within four feet of electric distribution lines to

20   further reduce the risk of tree contact with energized lines in High Fire Threat Districts (“HFTDs”);
21   (2) targeted removal in HFTDs of the ten highest risk tree species, which together have accounted for
22   more than 75 percent of all vegetation related ignitions in HFTDs since 2013; and (3) targeted defensible
23   space clearing underneath power lines in HFTDs. PG&E must be cognizant of, and will not repeat here,
24   the legal and environmental hurdles to completing this work. As part of the Wildfire Safety Plan process
25   with the CPUC, PG&E is focused on addressing these legal and environmental hurdles to allow more

26   effective and efficient vegetation management. PG&E is also continuing to explore all available options

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28                    MEMORANDUM RE 2019 WILDFIRE SAFETY PLAN IN RESPONSE TO COURT’S
                                         JANUARY 30, 2019 ORDER
                                         Case No. 14-CR-00175-WHA
 1   to bring in additional trained tree crews, including exploring partnerships with the relevant unions and

 2   contractors to create new training programs so that more qualified workers can be deployed in the

 3   HFTDs as soon as possible. This vegetation work is described on pages 70–86 of the attached Wildfire

 4   Safety Plan.

 5          Equipment failure is the second leading risk of electrically caused wildfires in HFTDs. PG&E

 6   also has an ambitious plan underway to address this issue. By May 31, 2019, PG&E intends to complete

 7   additional, enhanced inspections of its electric assets in HFTDs, including approximately 685,000

 8   distribution poles, 50,000 transmission structures, and 200 substations. These enhanced inspections

 9   include ground inspections, drone and helicopter inspections where needed, and climbing inspections of
10   every transmission tower. PG&E will take immediate action to address any issues identified as an
11   imminent risk to public or workforce safety. PG&E is also working to harden its electric system for the
12   future, including targeted use of undergrounding, insulated conductors and more durable and flame
13   resistant power poles. PG&E’s inspection, maintenance and hardening plans are described on pages 52–
14   69 of the attached Wildfire Safety Plan.
15          To be clear, PG&E has not waited for the Wildfire Safety Plan process to begin the work
16   described above. That work could not wait. PG&E is also, however, cognizant of the fact that not all of
17   the wildfire risk can be completely eliminated through vegetation management, system inspection and
18   system hardening. That is precisely why PG&E has developed—and continues to refine—a proactive de-
19   energization program that will be in place for this upcoming wildfire season (and was initially deployed

20   last year). As noted at the hearing on January 30, the California utility with the most experience running
21   a de-energization program is San Diego Gas & Electric (“SDG&E”). When PG&E set out to develop its
22   own program, it specifically did so based on SDG&E’s experience and practices, including SDG&E’s
23   framework concerning when proactive de-energization should be initiated. PG&E met with SDG&E on
24   numerous occasions and spent time learning from its key team members involved in the wildfire risk
25   reduction effort. One key aspect that became clear was the importance of SDG&E’s extensive network

26   of weather stations and cameras that permit it (and state or local fire officials) to monitor its

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28                    MEMORANDUM RE 2019 WILDFIRE SAFETY PLAN IN RESPONSE TO COURT’S
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 1   approximately 5,500 miles of overhead power lines (as compared to the more than 100,000 miles in

 2   PG&E’s system) in real time. PG&E immediately embarked upon a program to install similar

 3   capabilities as quickly as practical and that work is underway. Learning from SDG&E’s experience and

 4   CPUC guidance, PG&E also has developed (and continues to refine) advance warning systems for

 5   potentially impacted customers, first responders and customers that provide critical services. 1 PG&E
 6   continues to recognize the safety risks associated with de-energization and believes those risks must be

 7   accounted for. But at the same time, PG&E fully expects that as it enters the 2019 wildfire season, there

 8   likely will be multiple de-energization events in PG&E’s service territory. PG&E’s de-energization plan

 9   is described on pages 94–109 of the attached Wildfire Safety Plan.
10           In addition to addressing these critical issues of vegetation management, equipment inspection

11   and maintenance and de-energization, SB 901 also contains specific requirements for the topics that must

12   be addressed in a wildfire safety plan. (Pub. Util. Code § 8386(c).) Based on those requirements, PG&E

13   and other California utilities proposed an outline of issues to be addressed in the CPUC Wildfire Safety

14   Plan proceedings and provided that outline to the CPUC. In a decision dated January 17, 2019, a CPUC
15   Administrative Law Judge ruled on the proposed plan template and added additional information that the
16   utilities must address in their wildfire safety plans. Available
17   at http://docs.cpuc.ca.gov/PublishedDocs/Efile/G000/M259/K972/259972066.PDF. As set forth in those
18   documents, other required issues that the Court will see addressed in the Wildfire Safety Plan filed with
19   this memorandum include climate change risks, post-incident recovery, restoration and remediation

20   measures and detailed discussions of the way in which PG&E has identified and classified wildfire risks
21   in its service territory.
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       PG&E’s de-energization plan includes advance warning systems for potentially impacted customers
24   where feasible. Because forecasted weather conditions can change quickly, advance notification
     (particularly more than 24-48 hours) is not always possible. SDG&E, for example, provided notification
25   to impacted customers one day ahead of its de-energization event on September 21, 2017. (San Diego
     Gas & Electric Company Report on De-Energization of Circuit 221 on September 21-22, 2017 at 3,
26   available at
     http://www.cpuc.ca.gov/uploadedFiles/CPUC_Public_Website/Content/Safety/Electric_Safety_and_Reli
27   ability/SDGE%20De-Energization%20Report%20-%20Sept%2021-22.pdf.)
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28                     MEMORANDUM RE 2019 WILDFIRE SAFETY PLAN IN RESPONSE TO COURT’S
                                          JANUARY 30, 2019 ORDER
                                          Case No. 14-CR-00175-WHA
 1          PG&E looks forward to receiving public comments to its Wildfire Safety Plan both as part of this

 2   proceeding and the CPUC process. Wildfire risk is only increasing with continuing climate change and

 3   development of the portions of California that are most susceptible to wildfire events. While PG&E has

 4   devoted a great deal of time and expertise, including external consultants, to evaluating the best means to

 5   address wildfire risk as quickly and as safely as possible, PG&E hopes that others—including, among

 6   others, members of the community, wildfire experts, technology consultants, and tree contractors—will

 7   take advantage of these opportunities to comment. To the extent there are other solutions that PG&E has

 8   not identified, PG&E wants to hear about them as soon as possible.

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10                                                                  Respectfully Submitted,

11    Dated: February 6, 2019                                       JENNER & BLOCK LLP

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28                   MEMORANDUM RE 2019 WILDFIRE SAFETY PLAN IN RESPONSE TO COURT’S
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